Case 3:15-cv-02069-K Document 530 Filed 10/12/18           Page 1 of 35 PageID 21669


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

CITY OF DALLAS,                                 §
                                                §
         Plaintiff,                             §
v.                                              §
                                                §
DELTA AIR LINES, INC., SOUTHWEST                §
AIRLINES CO., VIRGIN AMERICA INC.,              §
AMERICAN AIRLINES, INC., UNITED                 §         Civil Action No. 3:15-cv-02069-K
AIRLINES, INC., SEAPORT AIRLINES,               §
INC., UNITED STATES DEPARTMENT                  §
OF TRANSPORTATION, AND THE                      §
FEDERAL AVIATION                                §
ADMINISTRATION                                  §
                                                §
         Defendants.


     DELTA AIR LINES, INC.’S MEMORANDUM IN SUPPORT OF ITS RESPONSE TO SOUTHWEST
                 AIRLINES CO.’S MOTION FOR PARTIAL SUMMARY JUDGMENT




          DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                                              Page 2 of 35 PageID 21670
                                                            TABLE OF CONTENTS

                                                                                                                                                              Page

Introduction ........................................................................................................................................................ 1
Background ......................................................................................................................................................... 2
Standard of Review ............................................................................................................................................ 2
Argument ............................................................................................................................................................ 2
      I. Southwest and United Waived the Affirmative Defense of Preemption by Failing
         To Plead it in Their Answers .............................................................................................................. 2
      II. Delta’s Contract Claims are Not Expressly Preempted.................................................................. 3
            A.       Delta’s Contract Claim Does Not Enlarge the Terms of the Lease. ................................... 5
                    1.        Delta’s Claim Does Not Enlarge the Terms of Contractual Remedies. .................... 6
                    2.        Delta’s Claim Does Not Enlarge the Terms of the Contract by Incorporating
                              Grant Assurances that Do Not Provide a Private Right of Action. .......................... 8
                    3.        Delta’s Claim Does Not Enlarge the Terms of the Lease by Requiring the
                              Court to Look to External Laws or Policies................................................................10
            B.       Third-Party Beneficiary Claims Fall within the Wolens Exception .....................................13
      III. Conflict Preemption Does Not Bar Delta’s Claims ......................................................................16
      IV. Impossibility Does not Preempt Delta’s Claims............................................................................22
      V. Delta is a Third-Party Beneficiary of Article 14.............................................................................23
      VI. Delta Has a Viable Request for Declaratory Relief Seeking To Invalidate the
          Sublease................................................................................................................................................26
Conclusion ........................................................................................................................................................27




_________________________________________________________________________
DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                                           Page i
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                           Page 3 of 35 PageID 21671
                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

A.C.L. Computers & Software, Inc. v. Fed. Express Corp.,
   2016 WL 946127 (N.D. Cal. Mar. 14, 2016 ............................................................................15

In re Am. Airlines, Inc., Privacy Litig.,
    2005 WL 3323028 (N.D. Tex. Dec. 7, 2005) ....................................................................11, 15

American Airlines v. Wolens,
  513 U.S. 219 (1995) ......................................................................................................... passim

Aretakis v. Fed. Exp. Corp.,
   2011 WL 1226278 (S.D.N.Y. Feb. 28, 2011) ..........................................................................16

Astra USA, Inc. v. Santa Clara County,
    563 U.S. 110 (2011) .................................................................................................................20

Barber Auto Sales, Inc. v. United Parcel Servs., Inc.,
   494 F. Supp. 2d 1290 (N.D. Ala. 2007) .....................................................................................8

Bible v. United Student Aid Funds, Inc.,
   799 F.3d 633 (7th Cir. 2015) ...................................................................................................20

Britt Green Trucking, Inc. v. FedEx Nat’l, LTL, Inc.,
    Case No. 09–cv–445, 2014 WL 3417569 (M.D.Fla. July 14, 2014) .........................................3

Buckman Co. v. Plaintiffs’ Legal Committee,
   531 U.S. 341 (2001) .....................................................................................................16, 17, 18

Castellanos-Contreras v. Decatur Hotels, LLC,
   622 F.3d 393 (5th Cir. 2010) (en banc) ...................................................................................24

Cathedral of Hope v. FedEx Corp. Servs., Inc.,
   2008 WL 2242546 (N.D. Tex. May 30, 2008) ..........................................................................8

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...................................................................................................................2

City of Cleveland, Ohio v. City of Brook Park, Ohio,
    893 F. Supp. 742 (N.D. Ohio 1995) .........................................................................................19

City of Houston v. Williams,
    353 S.W.3d 128 (Tex. 2011)..............................................................................................14, 15

Coll. Loan Corp. v. SLM Corp.,
   396 F.3d 588 (4th Cir. 2005) .................................................................................10, 11, 19, 20


_________________________________________________________________________
DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                 Page ii
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                           Page 4 of 35 PageID 21672



                                               TABLE OF AUTHORITIES
                                                     (continued)

                                                                                                                               Page(s)

Crosby v. Nat’l Foreign Trade Council,
   530 U.S. 363 (2000) .................................................................................................................22

Deerskin Trading Post, Inc. v. United Parcel Serv. of Am., Inc.,
   972 F. Supp. 665 (N.D. Ga. 1997) .........................................................................................7, 8

Delaware & Hudson Ry. Co.,
   781 F.3d 667 ..........................................................................................................11, 15, 20, 21

Delta Air Lines, Inc. v. Black,
   116 S.W.3d 745 (Tex. 2003)......................................................................................................9

Dover v. British Airways, PLC (UK),
   2013 WL 5970688 (E.D.N.Y. Nov. 8, 2013) ...........................................................................12

English v. Gen. Elec. Co.,
   496 U.S. 72 (1990) ...................................................................................................................17

Epps v. JP Morgan Chase Bank, N.A.,
   675 F.3d 315 (4th Cir. 2012) ...................................................................................................16

Erie Boulevard Hydropower, LP v. Fed. Energy Regulatory Comm’n,
   878 F.3d 258 (D.C. Cir. 2017) .................................................................................................16

Excel Willowbrook, L.L.C. v. JP Morgan Chase Bank, Nat. Ass’n,
   758 F.3d 592 (5th Cir. 2014) ...................................................................................................25

First Bank v. Brumitt,
    519 S.W.3d 95 (Tex. 2017)......................................................................................................25

Fisher v. Halliburton,
   667 F.3d 602 (5th Cir. 2012) .....................................................................................................2

Fla. Lime & Avocado Growers, Inc. v. Paul,
   373 U.S. 132 (1963) .................................................................................................................22

Freightliner Corp. v. Myrick,
   514 U.S. 280 (1995) .................................................................................................................16

Geier v. Am. Honda Motor Co.,
   529 U.S. 861 (2000) .................................................................................................................17




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                          Page iii
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                            Page 5 of 35 PageID 21673



                                               TABLE OF AUTHORITIES
                                                     (continued)

                                                                                                                                Page(s)

Giannopoulos v. Iberia Lineas Aereas de Espana, S.A.,
   2011 WL 3166159 (N.D. Ill. July 27, 2011) ............................................................................12

Grochowski v. Phoenix Const.,
   318 F.3d 80 (2d Cir. 2003).......................................................................................................21

Gulf Coast Shippers Ltd. P’ship v. DHL Exp. (USA), Inc.,
   2011 WL 4443434 (D. Utah Sept. 23, 2011) ...........................................................................16

Haub v. Axon Downhole Tools, Inc.,
   2013 WL 6731937 (S.D. Tex. Dec. 19, 2013) .........................................................................26

Hickcox-Huffman v. US Airways, Inc.,
   855 F.3d 1057 (9th Cir. 2017) .......................................................................................7, 12, 14

Hillsborough Cty., Fla. v. Automated Med. Labs., Inc.,
    471 U.S. 707 (1985) ...........................................................................................................16, 17

Johnson v. World All. Fin. Corp.,
   830 F.3d 192 (5th Cir. 2016) ...................................................................................................25

Keybank Nat’l Ass’n v. Hamrick,
   576 F. App’x 884 (11th Cir. 2014) ............................................................................................2

Kleiner v. Sw. Airlines Co.,
   2009 WL 10674260 (N.D. Tex. Aug. 17, 2009) ..................................................................7, 13

Kornman & Assocs., Inc. v. United States,
   527 F.3d 443 (5th Cir. 2008) .....................................................................................................2

Lawrence v. CDB Servs., Inc.,
   44 S.W.3d 544 (Tex. 2001)......................................................................................................26

Lyn-Lea Travel Corp. v. Am. Airlines, Inc.,
   283 F.3d 282 (5th Cir. 2002) .....................................................................................................7

MCI Telecommunications Corp. v. Texas Utilities Elec. Co.,
  995 S.W.2d 647 (Tex. 1999)....................................................................................................25

Met. Life Ins. Co. v. Taylor,
   481 U.S. 58 (1987) .....................................................................................................................2




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                           Page iv
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                            Page 6 of 35 PageID 21674



                                               TABLE OF AUTHORITIES
                                                     (continued)

                                                                                                                                Page(s)

Morales v. Trans World Airlines, Inc.,
  504 U.S. 374 (1992) ...................................................................................................................9

Motion Med. Techs., L.L.C. v. Thermotek, Inc.,
   875 F.3d 765 (5th Cir. 2017) .....................................................................................................2

N. Cypress Med. Ctr. Operating Co. Ltd v. Fedex Corp.,
   892 F. Supp. 2d 861 (S.D. Tex. 2012) ...................................................................................6, 8

Northwest, Inc. v. Ginsberg,
   572 U.S. 273 (2014) ......................................................................................................... passim

Polinovsky v. Deutsche Lufthansa, AG,
   2012 WL 1080415 (N.D. Ill. Mar. 30, 2012) ...........................................................................13

Seacor Holdings, Inc. v. Commonwealth Ins. Co.,
   635 F.3d 675 (5th Cir. 2011) .....................................................................................................2

Seals v. Delta Air Lines, Inc.,
   924 F. Supp. 854 (E.D. Tenn. 1996) ........................................................................................15

Shrem v. Southwest Airlines Co.,
   2017 WL 1478624 (N.D. Cal. Apr. 25, 2017) ...............................................................9, 10, 12

Strange v. Flagstar Bank, FSB,
    2012 WL 987584 (N.D. Tex. Mar. 22, 2012) ..........................................................................21

Travel All Over the World, Inc. v. Kingdom of Saudi Arabia,
   73 F.3d 1432 (7th Cir. 1996) ...........................................................................................7, 8, 11

United States v. Mwalumba,
   688 F. Supp. 2d 565 (N.D. Tex. 2010) ....................................................................................25

Wyeth v. Levine,
   555 U.S. 555 (2009) .................................................................................................................21

Statutes

49 U.S.C. § 40101(a)-(b) .................................................................................................................3

49 U.S.C. § 40103(e) .....................................................................................................................26

49 U.S.C. § 47101 ....................................................................................................................18, 26


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                            Page v
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                                Page 7 of 35 PageID 21675



                                                  TABLE OF AUTHORITIES
                                                        (continued)

                                                                                                                                       Page(s)

49 U.S.C. § 47104(a) .....................................................................................................................18

49 U.S.C. § 47106 ..........................................................................................................................18

49 U.S.C. § 47107 ....................................................................................................................18, 24

49 U.S.C. § 47175(6) .....................................................................................................................22

Airline Deregulation Act, (“ADA”), 49 U.S.C. § 1301 et seq. .............................................. passim

The Wright Amendement Reform Act (“WARA:), PL 109-352 (Oct. 13, 2006) ...................21, 22

Rules

Fed. R. Civ. P. 8(c) ..........................................................................................................................2

Fed. R. Civ. P. 56(a) ........................................................................................................................2

Treatises

Restatement (Second) of Contracts
   § 202.........................................................................................................................................25
   § 304.........................................................................................................................................15
   §§ 345, 357.................................................................................................................................6




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                                                 Page vi
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                      Page 8 of 35 PageID 21676


                                            INTRODUCTION

        After years of attempting to twist the terms of its lease agreement with the City to render its

accommodation obligation meaningless, Southwest’s motion for summary judgment attempts to

simply avoid the bulk of that contract altogether. To be sure, Southwest does not challenge the

viability of the City’s declaratory judgment claim, and only barely addresses Delta’s primary breach of

contract claim under Section 4.06(F). Instead, Southwest focuses its attention on insisting that it need

not live up to the obligations it voluntarily undertook in the lease agreement because all of Article 14

is preempted.

        Southwest’s attempt to evade its bargain fails. Its argument depends on narrowing the breach-

of-contract exception to Airline Deregulation Act preemption so severely as to read it out of existence.

Mot. at 4–16 (discussing 49 U.S.C. § 41713). When the Supreme Court held in American Airlines v.

Wolens, 513 U.S. 219 (1995), that an airline may be liable for its “breach of its own, self-imposed

undertakings,” it meant, Southwest argues, that an airline may be liable for its self-imposed

undertakings if no equitable relief is sought; and it did not undertake to comply with federal or state

law; and it is not sued by a third-party beneficiary. But nothing in Wolens or subsequent authority on

ADA preemption supports any of those limitations, which Southwest has wholly invented to escape

the indisputable fact that it has not lived up to its contractual obligations.

        The remainder of Southwest’s brief is a patchwork of conclusory arguments, many of which

have already been considered and rejected by this Court. Nothing in Southwest’s brief undermines

the simple fact that Southwest—in order to obtain a dominant share of Love Field—entered into a

contract that included numerous provisions intended to benefit airlines like Delta. Now, having

obtained the benefits of that dominance and taken the benefits of its lease with the City, Southwest

wants to avoid the obligations it undertook in that contract. Delta respectfully requests that the Court

deny the motion.


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 1
 Case 3:15-cv-02069-K Document 530 Filed 10/12/18                         Page 9 of 35 PageID 21677


                                               BACKGROUND

        Delta has described the background of the case in its own motion for summary judgment and

other briefing. ECF 362, 413 (Mot. for Partial Summary J. and Reply) ECF 388 (Resp. to Southwest’s

Mot. for Partial J. on the Pleadings); ECF 468 (Resp. to City’s Mot. for Partial Summ. J.). It fully

incorporates those facts by reference here.

                                          STANDARD OF REVIEW

        A party may move for summary judgment on any claim or defense. Fed. R. Civ. P. 56(a). “The

court shall grant summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Id.; see also Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986); Seacor Holdings, Inc. v. Commonwealth Ins. Co., 635 F.3d 675, 680 (5th

Cir. 2011). One circumstance in which “summary judgment is appropriate” is “where the only issue

before the court is a pure question of law.” Kornman & Assocs., Inc. v. United States, 527 F.3d 443, 450

(5th Cir. 2008) (quotation omitted).

                                                ARGUMENT

I.      Southwest Waived the Affirmative Defense of Preemption by Failing To Plead it in
        Its Answer

        As a threshold matter, all of the preemption arguments in Southwest’s motion fail because

Southwest has waived its right to plead and argue preemption.

        “Federal preemption is an affirmative defense that a defendant must plead and prove.” Fisher

v. Halliburton, 667 F.3d 602, 609 (5th Cir. 2012); see also Met. Life Ins. Co. v. Taylor, 481 U.S. 58, 63 (1987)

(“Federal pre-emption is ordinarily a federal defense to the plaintiff’s suit.”). Federal Rule of Civil

Procedure 8(c) requires a defendant to state affirmative defenses in its responsive pleading. Fed. R.

Civ. P. 8(c). Southwest failed to do so, and as a result, waived its preemption argument because it has

not raised its affirmative defense “at a pragmatically sufficient time”—three years after it was aware



DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                  Page 2
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                 Page 10 of 35 PageID 21678


of Delta’s claims against it.1 Motion Med. Techs., L.L.C. v. Thermotek, Inc., 875 F.3d 765, 771–72 (5th

Cir. 2017).

         Delta’s claims against Southwest have been on file with this Court from the outset. See ECF

144. Since then, this Court tried a preliminary injunction hearing, the parties argued an appeal and a

request for en banc hearing, and the case was remanded for further proceedings, including substantial

discovery. This Court ordered a deadline for filing and amending pleadings, and within that deadline,

Southwest filed its Answer to Delta’s claims but did not assert a preemption defense. See ECF 189, at

77; ECF 352, at 67–68.2 It would not be appropriate to grant Southwest summary judgment on an

affirmative defense it has not asserted. Delta had no opportunity to take discovery on this issue as

Delta had no notice of Southwest’s preemption affirmative defense until three years after Delta first

asserted its claims against Southwest and United. Southwest has thereby waived its preemption

arguments by failing to plead preemption as an affirmative defense to Delta’s claims.

II.      Delta’s Contract Claims are Not Expressly Preempted.

         Southwest devotes the bulk of its Motion for Partial Summary Judgment to many variations

on a single theme: that Delta’s claims under Article 14, and any claim that hinges on Delta’s status as

a third-party beneficiary, are expressly preempted by the Airline Deregulation Act (“ADA”).3 See Mot.

at 3–9. The ADA preempts suits under state laws that would seek to have the force and effect of law


1
  See also Keybank Nat'l Ass'n v. Hamrick, 576 F. App’x 884, 888 (11th Cir. 2014) (concluding defendant waived preemption
defense where he raised it for the first time in a summary judgment motion and failed to assert it in three prior answers);
Britt Green Trucking, Inc. v. FedEx Nat'l, LTL, Inc., 2014 WL 3417569, at *12–13 (M.D.Fla. July 14, 2014) (holding that
defendant waived the affirmative defense of preemption when the defense was raised for the first time at summary
judgment because defendant waited years to raise the defense in its motion for summary judgment).
2
 Although United Airlines, Inc. (“United”) did not join Southwest’s preemption argument, United also failed to assert the
preemption defense in any of its three answers to Delta’s Cross-Claims. See ECF 283, at 25-26; ECF 289, at 25-26; ECF
353, at 61-63.
3
  Southwest summarily asserts that all of Delta’s breach of contract claims fail (see Mot. at 1 n.1) but the strength of its
argument is reflected in its decision to relegate to a one-sentence footnote an argument that would resolve one of the
primary claims in the case. Many of Southwest’s arguments do not even apply to Delta’s Section 4.06(F) claims, and those
that do fail for the reasons set forth herein. Southwest’s recognition that Delta’s Section 4.06(F) claims are not preempted
reflects its acknowledgment of the unpersuasiveness of its broadest Wolens arguments.

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                             Page 3
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                   Page 11 of 35 PageID 21679


related to an airline’s prices, routes, and services in order to “to promote maximum reliance on

competitive market forces.” Wolens, 513 U.S. at 228; see also 49 U.S.C. § 40101(a)–(b).

            This case turns on the scope of an exception to ADA preemption adopted by the Supreme

Court in Wolens. In that case, the Supreme Court held that while “the ADA’s preemption prescription

bars state-imposed regulation of air carriers,” it “allows room for court enforcement of contract terms

set by the parties themselves.” Wolens, 513 U.S. at 222. The ADA does not preempt contract disputes

because reliance on “[m]arket efficiency requires effective means to enforce private agreements.” Id..

at 230. Accordingly, while states may not “impos[e] their own substantive standards with respect to

rates, routes, or services,” they may “afford[] relief to a party who claims and proves that an airline

dishonored a term the airline itself stipulated.” Id. at 232–33; see also Northwest, Inc. v. Ginsberg, 572 U.S.

273, 281 (2014) (ADA preemption clause “did not pre-empt breach of contract claims”). In other

words, the ADA does not “shelter airlines from suits alleging no violation of state-imposed

obligations, but seeking recovery solely for the airline’s alleged breach of its own, self-imposed

undertakings.” Wolens, 513 U.S. at 228 (emphasis added). Essentially, the express terms of a contract

are not considered “a State’s ‘enactment or enforcement of any law.” Ginsberg, 572 U.S. at 273 (quoting

Wolens, 513 U.S. at 228–29).

            Delta’s claims for breach of contract fall squarely within this exception. Southwest is a

sophisticated air carrier that fully and freely negotiated its Lease with the City.4 Each Signatory Carrier

agreed to certain obligations in exchange for preferential leases for a number of Love Field’s 20 gates.

Southwest agreed—explicitly and voluntarily—to accommodate new entrant carriers and impose

upon itself the City’s obligations under federal law of complying with the federal grant assurances.5

Exh. 25. These “self-imposed undertakings” remain binding on Southwest today and can be enforced



4
    See, e.g., Southwest App. 004–150 [Exhibit 25].
5
    See id. at 028–30, 067, 073, 075 [Exhibit 25 §§ 4.06F, 14.03, 14.09, 14.19].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                 Page 4
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                             Page 12 of 35 PageID 21680


under Wolens through a breach-of-contract suit.

         Southwest’s argument to escape the direct impact of Wolens on this case is that Delta has

somehow “enlarged” the scope of what Southwest agreed to. Southwest also seeks to tightly cabin

Wolens by reading a single word in that case to override the Court’s analysis and holding. After holding

squarely that enforcement of self-imposed obligations is not preempted, the Court observed that

“[t]he conclusion that the ADA permits state-law-based court adjudication of routine breach-of-

contract claims also makes sense of Congress’ retention of the FAA’s saving clause.” Wolens, 513 U.S.

at 232. Southwest focuses on the word “routine,” urging this Court to find that the Supreme Court,

through addition of that adjective in a descriptive statement, narrowed the rest of its opinion by

limiting the Wolens exception only to breach-of-contract claims that are “routine.”

         Southwest’s attempts to escape Wolens fail. None of Southwest’s arguments displaces the

fundamental principle under Wolens that a court may “afford[] relief to a party who claims and proves

that an airline dishonored a term the airline itself stipulated” without running afoul of the ADA. Id.

at 232–33. Delta’s breach of contract claims, based on violations of terms Southwest itself stipulated,

are not preempted.6

A.       Delta’s Contract Claim Does Not Enlarge the Terms of the Lease.

         Southwest argues that Delta’s contract claim seeks to “enlarge or enhance the terms of the

Lease” in two ways: by seeking equitable relief, and by suing on a contract provision that incorporates

an external source of law (i.e., the federal grant assurances and other federal aviation law). Mot. at 6.

Southwest is incorrect.




6Southwest purports to “join in United’s Motion for Summary Judgment” and incorporates it by reference. To the extent
the Court treats this as proper, Delta incorporates by reference its entire Response to United’s Motion for Summary
Judgment, filed concurrently herewith.

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                      Page 5
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                       Page 13 of 35 PageID 21681


        1.      Delta’s Claim Does Not Enlarge the Terms of Contractual Remedies.

        Southwest argues that Delta’s contract claim is not a “routine” breach-of-contract claim

because Delta seeks equitable relief. Id. Because the modifier “routine” was not a limiter of the

Supreme Court’s holding in Wolens, whether a breach-of-contract claim is “routine” is irrelevant to

whether it is preempted by the ADA. See Ginsberg, 572 U.S. at 284 (scope of Wolens exception is “a

subcategory of common-law claims, i.e., those based on the parties’ voluntary undertaking”). Instead,

the proper question is whether the action seeks to enforce the defendant’s “self-imposed

undertakings.” Southwest does not dispute that the action does just that.

        Southwest nonetheless contends that seeking equitable relief would “enlarge or enhance the

terms of the Lease.” Mot. at 6. As a factual and legal matter, this is simply untrue. The Lease specifies

that any remedies provided for by the Lease are not “exclusive of each other or of any other remedy

available . . . at law or in equity.”7 Any remedy available “at law or in equity” encompasses the relief

sought by Delta.8 When the parties to a contract specify a remedy, that remedy is enforceable under

Wolens because the court granting the requested remedy simply “holds [the] parties to their

agreements.” 513 U.S. at 229; see, e.g., N. Cypress Med. Ctr. Operating Co. Ltd v. Fedex Corp., 892 F. Supp.

2d 861, 870 (S.D. Tex. 2012) (damages remedy limited to “the contractually determined amount”).

That is all that Delta asks this Court to do.

        Even if Wolens only permitted breach-of-contract claims to proceed if they were “routine” (a

concept undefined by Wolens), there is no basis to treat a request for declaratory and injunctive relief

and specific performance as not routine for these purposes. To make the term “routine” consistent

with the rest of the opinion, a “routine” breach-of-contract claim would be one that seeks to enforce

only the parties’ obligations, rather than supplementing those obligations with additional duties


7
 Southwest App. 075 [Exhibit 25 § 14.15].
8
  Delta App. 7–9 [Delta’s Second Amended Cross and Counter Claim, ECF 346 at 41–43]; Delta App. 139–42
[Restatement (Second) of Contracts §§ 345, 357 (1981)].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                              Page 6
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                     Page 14 of 35 PageID 21682


implied as a matter of state public policy, such as an obligation of good faith. See Ginsberg, 572 U.S. at

286 (claim for breach of the implied covenant of good faith and fair dealing is preempted because it

is “a state-imposed obligation” that parties “cannot contract out of”). The parties here could have

reached an agreement that equitable relief would not be necessary for any breach of contract, but

instead reached the opposite agreement, expressly contracting for all available remedies.9 Enforcing

the agreement the parties actually made is the opposite of enlarging or enhancing the agreement. Indeed,

Southwest makes no attempt to explain why allowing for relief that the parties contracted to allow

would enlarge the agreement. Whether equitable relief is recoverable for a breach of contract is a

“core concept[]” of contract law, and therefore not preempted. See Lyn-Lea Travel Corp. v. Am. Airlines,

Inc., 283 F.3d 282, 289 (5th Cir. 2002) (fraudulent inducement defense not preempted under ADA

because it “relates to the validity of mutual assent” and does not “seek[] to expand or enlarge the

parties’ agreement”); see also Hickcox-Huffman v. US Airways, Inc., 855 F.3d 1057, 1064–65 (9th Cir.

2017) (restitution remedy for breach of contract claim not preempted under ADA, even though

contract did not specify restitution remedy, because restitution “traditionally recognized” as a remedy

available “as justice requires”); Kleiner v. Sw. Airlines Co., 2009 WL 10674260, at *3 (N.D. Tex. Aug. 17,

2009) (rejecting preemption claim where relief not specified in contract because “to give any meaning

to the Supreme Court’s holding that the ADA does not preempt states from affording relief to a party

who claims and proves that an airline dishonored a term the airline itself stipulated, courts must

consider common law contract remedies”) (internal quotations omitted).

            Southwest picks a handful of district court cases from around the country that have found

requests for relief other than compensatory damages not “routine” in the context of particular statutes.

Mot. at 5-6. But none of those cases addresses a contract that affirmatively provides for such relief;




9
    Southwest App. 075 [Exhibit 25 § 14.15].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                            Page 7
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                       Page 15 of 35 PageID 21683


instead, the request for relief which the contract does not provide is an “enlargement or enhancement”

of the parties’ agreement with state law remedies. See Travel All Over the World, Inc. v. Kingdom of Saudi

Arabia, 73 F.3d 1432, 1435 n. 8 (7th Cir. 1996); Deerskin Trading Post, Inc. v. United Parcel Serv. of Am.,

Inc., 972 F. Supp. 665, 673 (N.D. Ga. 1997). In any event, if a remedy is preempted that does not mean

that the claim is preempted, merely that the particularly remedy sought is preempted. See Travel All

Over the World, 73 F.3d at 1435 n.13 (finding particular remedy preempted); Deerskin Trading Post, 972

F. Supp. at 673 (same); Barber Auto Sales, Inc. v. United Parcel Servs., Inc., 494 F. Supp. 2d 1290, 1294

(N.D. Ala. 2007); N. Cypress Med. Ctr. Operating Co. Ltd., 892 F. Supp. 2d at 870.

        Delta also seeks attorneys’ fees on its breach-of-contract claim, which are plainly not

preempted. See Cathedral of Hope v. FedEx Corp. Servs., Inc., 2008 WL 2242546, at *8 (N.D. Tex. May

30, 2008) (“[a] state statute permitting recovery of attorney’s fees is ‘too tenuous, remote, or peripheral’

to be subject to preemption. Such a statute neither references nor imposes any substantive obligations

on airline practices.”) (quoting Samtech Corp. v. Federal Express Corp., 2004 U.S. Dist. LEXIS 27130, at

*1 (S.D. Tex. Mar. 14, 2004)). Accordingly, Southwest’s argument misreads Wolens, overstates the

cases on which it relies, and ignores Delta’s request for attorneys’ fees. It does not provide a basis for

preemption.

        2.      Delta’s Claim Does Not Enlarge the Terms of the Contract by Incorporating
                Grant Assurances that Do Not Provide a Private Right of Action.

        Southwest next contends that Delta’s breach-of-contract claims enlarge the terms of the lease

because Article 14 incorporates federal law and grant assurances that have no private right of action.

Mot. at 6. But that makes no sense. Southwest’s theory is that “nothing in the contract entitles [Delta]

to the external remedy” of private enforcement of the grant assurances, but the contract is precisely

what entitles Delta to privately enforce obligations that are also in the grant assurances. Id. In other

words, Delta is not looking to state law to expand its rights under the contract; Delta is looking to the



DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                              Page 8
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                     Page 16 of 35 PageID 21684


contract to enforce the promises underlying the grant assurances, which were undertaken by Southwest

in the Lease. Nothing about that seeks to “enlarge or enhance” Delta’s rights “based on state laws or

policies external to the agreement.” Wolens, 513 U.S. at 233.

        Southwest claims that Delta made an argument similar to Southwest’s argument in Delta Air

Lines, Inc. v. Black, 116 S.W.3d 745 (Tex. 2003).       But that argument depends on Southwest’s

mischaracterization of what Delta argues here. In Black, the plaintiff sued the airline for breach of the

parties’ contract that incorporated DOT anti-bumping regulations, contending that he was “denied

boarding compensation” in the form of reimbursement for the cost of a private jet rental because he

was denied a first class seat. Id. at 755. The Black court considered the relevant regulation and found

that “a passenger is not eligible for denied boarding compensation if the airline offers the passenger

accommodations in another section of the aircraft at no charge”—which is precisely what the airline

did. Id. Accordingly, neither the DOT regulation—nor the parties’ contract that incorporated them—

supported plaintiff’s claim. Id. Plaintiff sought to “enlarge Delta’s obligations to him” by modifying

the contract terms to allow him to forego his contractually specified “regulatory remedies.” Id. The

Black plaintiff’s claim failed because the Court is confined “in breach-of-contract actions, to the

parties’ bargain,” id. (quoting Wolens, 513 U.S. at 233), not because of any lack of a private right of

action. Nor does Shrem v. Southwest Airlines Co., 2017 WL 1478624, at *2 (N.D. Cal. Apr. 25, 2017),

lend support to Southwest’s argument: in Shrem, “the Contract of Carriage [did] not incorporate

federal laws, regulations, and rules,” including the one that plaintiff contended gave rise to his action

for breach. Thus, Southwest’s reliance on the case is wholly misplaced.

        Notably, Southwest omits from its characterization of Black the court’s observation that it

“cannot enlarge or enhance that bargain based on state law or policies external to the agreement.” Black,

116 S.W.3d at 755 (emphasis added). Of course, the limitation on enlarging a bargain via state law

makes sense in a preemption analysis; where, as with a claim for breach of the implied covenant, a


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                           Page 9
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                     Page 17 of 35 PageID 21685


state-imposed duty that cannot be contracted around gives rise to the cause of action, the plaintiff

sues to enforce that state-imposed duty, not its self-imposed undertakings. See Ginsberg, 572 U.S. at

286. And such state-imposed duties may not interfere with the federal policy of deregulation. See Morales

v. Trans World Airlines, Inc., 504 U.S. 374, 378 (1992) (preemption attempted to “ensure that the States

would not undo federal deregulation with regulation of their own”). A claim that Southwest breached

a contract that incorporated provisions of federal law does not present any similar concern.

        3.      Delta’s Claim Does Not Enlarge the Terms of the Lease by Requiring the
                Court to Look to External Laws or Policies.

        Finally, Southwest alleges that Delta’s claims under Article 14 (as well as its declaratory

judgment claim) enlarge the term of the lease because they require the Court to look to external laws

or policies. Mot. at 7. In particular, Southwest observes that Section 14.03 requires Southwest’s use

of the airport to “comply with and conform to” federal law, and Section 14.09 makes the lease subject

to federal grant assurances. Id. But here again, Southwest offers no explanation or theory of how it

would exceed the Wolens exception for the Court to “hold[] [the] parties to their agreements”—which

is exactly what Wolens says is permitted. Wolens, 513 U.S. at 229. Instead, it invokes Shrem again, in

which the Court specifically held that the “Contract of Carriage does not incorporate federal laws,

regulations, and rules.” Shrem, 2017 WL 1478624, at *2. It thus has no bearing on the enforcement

of a contract that does incorporate certain federal laws and grant assurances.

        Southwest’s claim has been rejected repeatedly by the courts. The Fourth Circuit addressed a

very similar argument in considering whether a contractual provision was preempted by the Higher

Education Act (“HEA”). Coll. Loan Corp. v. SLM Corp., 396 F.3d 588, 589 (4th Cir. 2005). The parties

entered a loan agreement under which “the obligations of the parties included compliance with the

HEA.” Id. at 592. When one party sued Sallie Mae, asserting a breach of the contract via a violation

of the HEA, Sallie Mae argued the plaintiff had no such cause of action because there is no private



DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 10
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                     Page 18 of 35 PageID 21686


right of action under the HEA. Id. at 593. The district court acknowledged this argument, but instead

held that the breach-of-contract claim was preempted by the HEA. Id.

        The Court of Appeals rejected both arguments. First, it noted that “the Supreme Court (and

this Court as well) has recognized that the availability of a state law claim is even more important in an

area where no federal private right of action exists.” Id. at 598 (emphasis in original). It further

observed that both parties “voluntarily included federal standards” in their agreement, and “[b]oth

expressly agreed to comply with the HEA.” Id. As such, the Court held that Sallie Mae’s argument was

effectively that “it was free to enter into a contract that invoked a federal standard as the indicator of

compliance, then to proceed to breach its duties thereunder and to shield its breach by pleading

preemption.” Id. Here, as there, “federal supremacy does not mandate such a result.” Coll. Loan Corp.

v. SLM Corp., 396 F.3d 588, 598 (4th Cir. 2005); see also Delaware & Hudson Ry. Co., 781 F.3d 656, 667–

68 (3d Cir. 2015) (quoting Epps v. JP Morgan Chase Bank, N.A., 675 F.3d 315, 326 (4th Cir. 2012)

(“when a party to a contract voluntarily assumes an obligation to proceed under certain state laws,

traditional preemption doctrine does not apply to shield a party from liability for breach of that

agreement”). These decisions are compelled by Wolens and Ginsberg, which do not shield parties from

breach-of-contract liability for “the breach of [their] own, self-imposed undertakings.” Id. (quoting

Wolens, 513 U.S. at 228).

        Accordingly, where compliance with outside law is expressly required by the parties’

agreements, courts routinely find breach-of-contract claims based on these agreements are not

preempted, even if the courts would be required to reference external sources to interpret the parties’

contractual obligations.    For example, in American Airlines, the court explained that “Wolens

differentiates between holding an airline to the bargain it struck and to one enlarged or enhanced by

state laws or policies external to the agreement … American agreed to be bound to its privacy policy,

except as required by law. In other words, the laws that American maintains are external to the

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                           Page 11
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                   Page 19 of 35 PageID 21687


contract are expressly incorporated into it.” 370 F. Supp. 2d at 566. Accordingly, the court rejected

American’s preemption argument, finding that whether plaintiffs’ data had been shared “as required

by law” did not require the court to “resort to outside sources of law.” Id. at 565; see also, e.g., Travel

All Over the World, 73 F.3d at 1435; Dover v. British Airways, PLC (UK), 2013 WL 5970688, at *4

(E.D.N.Y. Nov. 8, 2013); Giannopoulos v. Iberia Lineas Aereas de Espana, S.A., 2011 WL 3166159, at *3

(N.D. Ill. July 27, 2011) (breach-of-contract claim not preempted because the defendant airline

“specifically refers to complying with EU 261 in its conditions of contract,” voluntarily authorizing

the court to examine international judicial interpretations of EU 261).10

         At bottom, the ADA only preempts common law contract claims that seek to “enlarge[] the

contractual obligations that the parties voluntarily adopt.” Ginsberg, 572 U.S. at 276; see also Hickcox-

Huffman, 855 F.3d at 1062 (the “central issue” is whether the obligation is one “the parties voluntarily

undertook”) (citation omitted).             Thus, ADA preemption precludes suits that seek to enforce

mandatory external state law claims related to the contract—like mandatory state regulations designed

to afford broad protections to consumers—and simply does not logically apply to analysis of laws that

the parties expressly incorporated by the contract at issue. Even if the outside law were state law,

rather than federal, Southwest’s argument would have no force. In Wolens itself, the petitioner

contended that the breach-of-contract claims against it should be preempted because those claims

“inescapably depend on state policies that are independent of the intent of the parties,” such as

whether petitioner’s express contractual reservation of the right to modify the terms of the program

at issue was valid. Wolens, 513 U.S. at 233. The Court rejected that argument because it is one of

“contract interpretation”—in other words, interpreting the terms of the parties’ agreement, even if


10 In support of its argument, Southwest relies only on Shrem v. Southwest Airlines Co., 2017 WL 1478624, at *2 (N.D. Cal.

Apr. 25, 2017), where the court found preempted a breach-of-contract claim alleging that Southwest did not clearly disclose
the terms of its refund promise, as plaintiff alleged Southwest was required to do by federal regulation. However, in Shrem,
unlike the cases cited above, the contract at issue “[did] not incorporate federal laws, regulations, and rules,” including the
one plaintiff alleged Southwest had breached. Id. Accordingly, Shrem lends no support to Southwest’s argument.

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                               Page 12
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                     Page 20 of 35 PageID 21688


that interpretative task requires reference to an outside source of law, is within the scope of the Wolens

exception to preemption. 513 U.S. at 234; see also Ginsberg, 572 U.S. at 288 (noting that although a

state-imposed covenant of good faith and fair dealing was preempted, the parties may still contract

for it: “an airline can decide whether the benefits of such a provision are worth the potential costs”);

Polinovsky v. Deutsche Lufthansa, AG, 2012 WL 1080415, at *2–3 (N.D. Ill. Mar. 30, 2012) (where

international law incorporated in agreement, compliance was a “self imposed undertaking” and

contract claim based on violation of the law not preempted); Kleiner, 2009 WL 10674260 at *3 (where

FAA regulations incorporated in Contract of Carriage, breach-of-contract claim based on failure to

comply with regulation not preempted).

B.      Third-Party Beneficiary Claims Fall within the Wolens Exception

        Finally, Southwest contends that all contract claims in which the plaintiff is a third-party

beneficiary are preempted because determining whether Delta is a third-party beneficiary of the Lease

Agreements would require this court to look to “state law . . . external to the agreement.” Mot. at 9

(quoting In re Am. Airlines, Inc., Privacy Litig., 2005 WL 3323028, at *3 (N.D. Tex. Dec. 7, 2005)).

Southwest’s position is directly contradicted by the law of the Supreme Court and the Fifth Circuit

because the ADA does not preempt, or prohibit courts from applying, ordinary state law rules of

contract interpretation.

        As a general rule, “the ADA permits state-law-based court adjudication of routine breach-of-

contract claims” and by doing so, does not preempt “the contract laws of the states.” Wolens, 513 U.S.

at 230, 232. Since Wolens, the Supreme Court has further explained that the ADA does not expressly

preempt all state common law claims. See Ginsberg, 572 U.S. at 273. In Ginsberg, the Court determined

that a common law mandatory implied covenant of good faith and fair dealing was preempted under

the ADA because it imposed a mandatory “state-imposed obligation,” that provided no right for the




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                           Page 13
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                       Page 21 of 35 PageID 21689


parties to opt out. Ginsberg, 572 U.S. at 276, 286, 288 (“A State’s implied covenant rules will escape

preemption only if … the airline can specify that the agreement does not incorporate the covenant.”).

           Importantly, Ginsberg focused upon the rights of the parties to freely contract around any state

imposed obligations in deciding whether or not the ADA’s preemption provision barred a particular

suit. The Court determined that enforcement of the common law covenant did not “effectuate the

intentions of parties or . . . protect their reasonable expectations” because it applied generally to “every

contract” and was specifically intended to enforce the state’s public policies “of decency, fairness, or

reasonableness.” Id. at 286. The common law covenant expressly prohibited the parties from

contracting out of the state-imposed obligation, and thus, the Court concluded that it cannot be one

that the parties “voluntarily undertook,” and so it was preempted. Id. at 287, 284–85. In finding the

specific state law preempted by the ADA, Ginsberg also reaffirmed Wolens, explaining that the ADA

does not preempt claims for the breach of “privately ordered obligations” or rules that the parties can

“contract around.” Id. at 281, 288; see also id. at 286 (noting that if plaintiff had pled a breach-of-

contract claim, his suit may not have been preempted); Hickcox-Huffman, 855 F.3d at 1061–62. Thus,

the Court’s opinion turned expressly upon whether the contract could disclaim any obligations under

the common law covenant in determining whether it was preempted. Ginsberg, 572 U.S. at 288.

           Here, Southwest and the City could have, but did not, disclaim any obligations to third parties.

Instead, Southwest and the City affirmatively agreed that Southwest would accommodate third parties

seeking entry to the airport, and that it would comply with the grant assurances.11 Whether Delta can

sue to enforce that promise is determined by evaluation of the contract. That is, under Texas law,

courts determine whether a party is a third-party beneficiary to a contract by assessing whether the

contracting parties demonstrated the “intent to benefit a third party” as determined by analysis of “the




11
     See Southwest App. at 067 [Exhibit 25 § 14.03(B)(1)].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                             Page 14
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                      Page 22 of 35 PageID 21690


entire agreement, giving effect to all its provisions.” City of Houston v. Williams, 353 S.W.3d 128, 145

(Tex. 2011). It is the intention of the contracting parties that governs the third-party beneficiary

analysis. See id. (“We do not create a third-party benefit by implication; the presumption is the parties

contracted only for themselves, absent a clear showing of intent otherwise.”); Delta App. 137–38

[Restatement (Second) of Contracts § 304 (“the parties to a contract have the power, if they so intend,

to create a right in a third person.”)].

        Because Texas’ rules relating to third-party beneficiaries effectuate only “the intentions of

parties,” Ginsberg, 572 U.S. at 286, they are not preempted by the ADA. In its argument to the contrary,

Southwest relies almost exclusively on an unpublished pre-Ginsberg opinion, In re American Airlines, Inc.,

Privacy Litig., 2005 WL 3323028, at *3 (N.D. Tex. Dec. 7, 2005). In American Airlines, the district court

reasoned that the ADA preempted breach of contract claims by third-party beneficiaries because the

court would be required to analyze state law—Texas law on third-party beneficiaries—to adjudicate

the claim. Id. at *3. However, this case does not survive the Supreme Court’s later decision in Ginsberg,

which clarified that state rules of contract interpretation are not preempted if those rules effectuate the

parties’ intentions, 572 U.S. at 286, which is precisely what Texas’ law of third-party beneficiaries does.

Williams, 353 S.W.3d at 145.

        Southwest’s reliance on A.C.L. Computers & Software, Inc. v. Fed. Express Corp., is equally

unconvincing. Mot. at 9 (citing A.C.L., 2016 WL 946127, at *4 (N.D. Cal. Mar. 14, 2016)). A.C.L.,

which does not cite Ginsberg, addresses California law, where the plaintiffs argued that, in stark contrast

to Texas law, “the law of third party beneficiaries” does not require “an intent to benefit a third-party

be manifested by the promisor.” Id. Thus, A.C.L. does not examine the issue of third-party

beneficiaries in the context of a circumstance where the parties’ assent is key—which is precisely the

circumstance where Ginsberg indicates a claim is not preempted.




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                            Page 15
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                      Page 23 of 35 PageID 21691


        In the wake of Ginsberg, courts have routinely found that third-party beneficiary claims are not

preempted by the ADA or analogous statutes. Instead, because duties to third-party beneficiaries are

voluntarily undertaken by the contracting parties, see Williams, 353 S.W.3d at 145, and “duties

voluntarily undertaken cannot be considered as ‘state imposed,’” Delaware & Hudson Ry. Co., 781 F.3d

at 668; see also, e.g., Seals v. Delta Air Lines, Inc., 924 F. Supp. 854, 857 (E.D. Tenn. 1996) (breach-of-

contract claim by potential third-party-beneficiary not preempted); Aretakis v. Fed. Exp. Corp., 2011

WL 1226278, at *6 (S.D.N.Y. Feb. 28, 2011), report and recommendation adopted, 2011 WL 1197596

(S.D.N.Y. Mar. 25, 2011); Gulf Coast Shippers Ltd. P’ship v. DHL Exp. (USA), Inc., 2011 WL 4443434,

at *2 (D. Utah Sept. 23, 2011); cf. Epps v. JP Morgan Chase Bank, N.A., 675 F.3d 315, 327 (4th Cir. 2012)

(breach of contract claim against successor-in-interest not preempted).

III.    Conflict Preemption Does Not Bar Delta’s Claims

        Southwest next contends that Delta’s breach-of-contract claims are subject to conflict

preemption. Mot. at 11–14. Specifically, it argues that allowing a breach-of-contract claim based on

the grant assurances will conflict with the FAA’s enforcement scheme. Id. However, “[a] federal

court’s preemption decision ordinarily does not undo independent contractual obligations.” Erie

Boulevard Hydropower, LP v. Fed. Energy Regulatory Comm’n, 878 F.3d 258, 267 (D.C. Cir. 2017) (citing

Wolens, 513 U.S. 222). Southwest gives no reason that principle should not apply here.

        Under the doctrine of conflict preemption, state laws may be preempted by implication “where

state law stands as an obstacle to the accomplishment and execution of the full purposes and objectives

of Congress.” Freightliner Corp. v. Myrick, 514 U.S. 280, 287 (1995). Though in some cases conflict

preemption occurs when allowing state law claims would interfere with a federal agency’s enforcement

prerogatives, see Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 348 (2001), conflict preemption is

not required every time a federal enforcement scheme exists. “Ordinarily, the mere existence of a

federal regulatory or enforcement scheme, even [a] detailed [one], does not by itself imply pre-emption


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                            Page 16
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                               Page 24 of 35 PageID 21692


of state remedies. . . . Undoubtedly, every subject that merits congressional legislation is, by definition,

a subject of national concern. That cannot mean, however, that every federal statute ousts all related

state law.” Hillsborough Cty., Fla. v. Automated Med. Labs., Inc., 471 U.S. 707, 719 (1985). Indeed,

“agencies normally deal with problems in far more detail than does Congress. To infer pre-emption

whenever an agency deals with a problem comprehensively is virtually tantamount to saying that

whenever a federal agency decides to step into a field, its regulations will be exclusive.” Id. at 717.

But that is not the case. See id. Instead, courts “look for special features warranting pre-emption.”

English v. Gen. Elec. Co., 496 U.S. 72, at 87 (1990). Specifically, conflict preemption “turns on the

identification of ‘actual conflict.’” Geier v. Am. Honda Motor Co., 529 U.S. 861, 884 (2000) (internal

citation omitted).

         Southwest contends that permitting this suit could hinder the DOT’s ability to have an

appropriate agency response because “a private party ‘could sanction noncompliance.’” Mot. at 11.

But that makes no sense. Delta’s argument is that Southwest, the City, and United have breached the

Lease by violating the grant assurances that are incorporated into that contract. Id. If this Court

agrees, it is mandating compliance with contractual obligations, not “sanction[ing] noncompliance”

with the grant assurances. And if this Court disagrees and holds that the contract does not require

accommodation of Delta, that does not prevent the DOT from exercising its authority to withhold

grant money from the City for its violation of the grant assurances. That the DOT is waiting for the

outcome of this Court suit before pursuing a Part 16 proceeding decidedly does not counsel in favor

of this Court refusing to decide this case.12 This Court’s authority to resolve Southwest’s compliance

with the contractual obligations it voluntarily undertook is independent of, and does not interfere




12
  Delta App. 138 [Exhibit 1483 (DOT informs City on June 19, 2018 that its decision to decline to comment “should not
be construed as either an endorsement or rejection of your proposed accommodation policy, and is not a final agency
action. DOT reserves the right to take any and all actions it determines to be appropriate with respect to Love Field.”)]

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                         Page 17
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                    Page 25 of 35 PageID 21693


with, the DOT’s determination of whether to withhold funds from the City as a result of the City’s

violation of the assurances it made to obtain those funds.

        Southwest next contends that conflict preemption applies here pursuant to Buckman because,

as in that case, allowing private enforcement of claims ordinarily delegated to the agency’s prerogative

would skew the “delicate balance of statutory objectives” evidenced by the agency’s enforcement

mechanism. 531 U.S. at 348. But Buckman bears no resemblance to this case. In Buckman, the Court

found that plaintiffs’ state-law fraud-on-the-FDA claims were preempted because those claims would

conflict with the agency’s own enforcement procedures designed to punish and deter fraud while

advancing other statutory objectives. Id. There, the difficult balance struck by the FDA was clear:

for example, the FDA maintained dual approval mechanisms that might apply to the same device—

one exhaustive, and one quick to ensure devices are reasonably safe and effective and on the market

within a short period of time; the FDA also regulated use of “off-label” devices as “an accepted and

necessary corollary of the FDA’s mission to regulate in this area without directly interfering with the

practice of medicine.” Id. at 349–50. The conflict that would follow from permitting a fifty-state tort

regime to police potentially fraudulent statements made to the agency would also be “dramatic,” as

cautious manufacturers might submit extra documentation to avoid state tort liability, thereby slowing

a process designed by the FDA to be quick, and “deter[ring] off-label use despite the fact that the

FDCA expressly disclaims any intent to directly regulate the practice of medicine.” Id. at 350–51.

        The concerns present in Buckman are absent here. The policies animating the program do not

evidence the “delicate balance” between competing priorities seen in Buckman; instead, the statutory

purposes highlight the importance of developing “a national intermodal transportation system that

transports passengers and property” safely and “in an efficient manner” while “foster[ing]

competition.” 49 U.S.C. § 47101(b), (d); see also id. §§ 47101(a), (d), (e), (f). Nor do the DOT’s

regulations evidence the complexity of those in Buckman: the DOT has grantmaking authority “[t]o


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 18
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                    Page 26 of 35 PageID 21694


maintain a safe and efficient nationwide system of public-use airports that meets the present and future

needs of civil aeronautics.” 49 U.S.C. § 47104(a). It may issue a grant where, for instance, “the

interests of the community in or near which the project may be located have been given fair

consideration” by the applicant, the applicant has submitted a competition plan, and the applicant

gives written assurances that “the airport will be available for public use on reasonable conditions and

without unjust discrimination.” 49 U.S.C.A. §§ 47106–47107.

        These regulations do not evidence a “delicate balance” of complex competing priorities. And

unlike the obvious interference present with the delicate balance in Buckman, Southwest points to no

reason why permitting private enforcement, through a breach-of-contract claim, of grant assurances

that require competition and are incorporated into the contract, would interfere with any balance

struck by the Department of Transportation here. See Mot. at 12–13. In fact, as one court found, “in

light of the mechanism Congress chose to implement its goals” through the grant program, local

enforcement that is consistent with those goals “does not collide with Congress’ purpose of

encouraging airport development in conformity with certain policy goals through providing federal

funding for such projects” and so is not preempted. City of Cleveland, Ohio v. City of Brook Park, Ohio,

893 F. Supp. 742, 749 (N.D. Ohio 1995) (upholding local ordinance requiring conditional use permits

also addressed by DOT regulations). In addition, a fraud-on-the-FDA claim attempts to regulate what

is given to the FDA and its evaluation of that information; in contrast, Delta’s breach-of-contract

claim simply seeks to enforce an obligation to which Southwest voluntarily agreed.

        Absent the potential of destruction of a delicate balance, conflict preemption is concerned

with actual conflict—conflict that is not found where a private party attempts to enforce a statutory

purpose through tort or contract. E.g., Coll. Loan Corp. v. SLM Corp., 396 F.3d 588, 597 (4th Cir. 2005)

(“neither the district court nor the parties have explained how [the agency’s] statutory purposes would

be compromised by a lender . . . pursuing breach of contract or tort claims against other lenders or


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 19
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                    Page 27 of 35 PageID 21695


servicers”). That is because “a state cause of action that seeks to enforce a federal requirement ‘does

not impose a requirement that is different from, or in addition to, requirements under federal law.’”

Wigod, 673 F.3d at 579–80 (quoting Bates v. Dow Agrosciences LLC, 544 U.S. 431, 448 (2005)). Indeed,

in this case Delta’s breach of contract claims complement the statute’s purposes by encouraging

competition at Love Field. There is no conflict here.

        Southwest also contends that the grant assurances’ lack of a private right of action is further

evidence of conflict preemption. Mot. at 13–14. However, as explained at greater length above,

Southwest’s theory that “the lack of a private right of action under a regulatory statute necessarily

preempts or otherwise displaces a state law cause of action [here, breach of contract] that makes the

violation of that regulatory statute an element of the claim” is “mistaken at its core.” Bible v. United

Student Aid Funds, Inc., 799 F.3d 633, 654 (7th Cir. 2015). As other circuits have recognized, “[t]he

absence of a private right of action from a federal statute provides no reason to dismiss a claim under

a state law just because it refers to or incorporates some element of the federal law. To find otherwise

would require adopting the novel presumption that where Congress provides no remedy under federal

law, state law may not afford one in its stead.” Id. (quoting Wigod, 673 F.3d at 581); see also Delaware

& Hudson Ry. Co., 781 F.3d at 671; Coll. Loan Corp. v. SLM Corp., 396 F.3d 588, 597 (4th Cir. 2005).

        Neither Astra USA, Inc. v. Santa Clara County, 563 U.S. 110 (2011), nor the other cases relied

on by Southwest, counsel a different result. As the Delaware & Hudson Railway Co. court explained in

distinguishing Astra’s preemption analysis, Astra did not create a no-private-right-of-action-means-

preemption rule; indeed, in other cases the Court has permitted “enforcement of [federal laws]

through state-law claims even when there was no private right of action.” 781 F.3d at 668 n.17.

Southwest has previously sought to dismiss Delta’s claims on the theory that they would effectively

provide a private right of action in violation of Astra, and this Court has denied that motion. Delta

incorporates by reference its previous briefing on this point. See ECF 388, at 12–14. At bottom, Astra


DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 20
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                   Page 28 of 35 PageID 21696


dealt with creation of a federal common law remedy, not with state law, and addressed “‘form

agreements’ that ‘simply incorporate[d] statutory obligations and record[ed] the manufacturers’

agreement to abide by them’ but ‘contain[ed] no negotiable terms.’” Id. (quoting Astra USA, Inc., 563

U.S. at 118). In Astra, the “statutory and contractual obligations, in short, [we]re one and the same.”

Astra USA, Inc., 563 U.S. at 118. Here, in contrast, Southwest did not become bound to comply with

the specific accommodation provision of Section 4.06(F) and the grant assurances until it undertook

to do so in its contract. As the Third Circuit cautioned in Delaware & Hudson Railway Co., Southwest’s

type of theory would “allow, and perhaps encourage, manufacturers to make grand contractual

promises to obtain a deal and then breach their duties with impunity.” 781 F.3d at 668. That conflicts

with the Supreme Court’s “salutary ‘you’ve made your own bed, now lie in it’ quality,” reflected in

Wolens and Ginsberg, that “emphasize[s] the importance of voluntarily assumed contractual

obligations.” Id. Contracts that “involve[] negotiated duties voluntarily assumed by the parties” are

not covered by Astra’s treatment of form agreements with “no negotiable terms.” Id. at 668 n.17.13

         Because Delta’s breach-of-contract claims do not conflict with the grant assurances’ purposes

or enforcement mechanisms; conflict preemption does not apply.14




13 Nor does Grochowski v. Phoenix Const., 318 F.3d 80 (2d Cir. 2003), lend support to Southwest’s claim. That court relied

on the lack of a private right of action in a federal labor standards statute, combined with a federal enforcement mechanism,
to find a breach-of-contract claim incorporating that statute was preempted. Id. at 86. But as the dissent in that case, and
panels in other circuits, have pointed out, the Grochowski court’s conclusion was based on the idea of obstacle preemption—
the Grochowski majority did not engage in preemption analysis, and indeed “there is no evidence that Congressional intent
. . . was to preempt state law.” Wigod, 673 F.3d at 584 (citing Grochowski, 318 F.3d at 90 (Lynch, J., dissenting)). Strange v.
Flagstar Bank, FSB, 2012 WL 987584 at *4 (N.D. Tex. Mar. 22, 2012), is even less apposite, as it is not a preemption case
at all, but a case that holds that a party may not sue in certain circumstances where “a government contract confirms a
statutory obligation.” Unlike Flagstar Bank, this case involves a lease agreement with the City, not a federal government
contract.
14 Southwest also contends that Delta’s claims conflict with WARA. Mot. at 15 n.23. WARA expressly provides that “[t]o

accommodate new entrant air carriers, the city of Dallas shall honor the scarce resource provision of the existing Love
Field leases.” Delta App. 20 [Exhibit 77, WARA § 5(a)]. Delta’s breach of contract claims—which all demand
accommodation as a new entrant air carrier to Love Field—do not conflict with the purposes of WARA.

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                               Page 21
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                           Page 29 of 35 PageID 21697


IV.         Impossibility Does not Preempt Delta’s Claims

            Finally, Southwest contends that Delta’s claims under Article 14 are preempted by

impossibility: according to Southwest, it would be impossible to both accommodate Delta—the result

Delta seeks through its breach-of-contract claims—and to comply with WARA., PL 109-352 (Oct.

13, 2006) Mot. at 15. Southwest is wrong. “Impossibility pre-emption is a demanding defense,”

Wyeth v. Levine, 555 U.S. 555, 573 (2009); it succeeds only “where compliance with both federal and

state regulations is a physical impossibility,” Fla. Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132,

142–43 (1963).

            Southwest points to no such “physical impossibility” here. Southwest’s claims of impossibility

stems from a provision of WARA that it says “expressly precludes any interpretation of the grant

assurances that modifies the terms of the lease.” Mot. at 15 (citing WARA § 5(e)(2)(B)(ii)). But Delta

seeks to enforce the lease, not modify it. As this Court and the Fifth Circuit have already concluded for

purposes of a preliminary injunction, requiring Southwest to accommodate Delta is compelled by the

lease, which means it is, by definition, not a modification of it. The City and the Signatory Carriers

are plainly and clearly obligated to accommodate requesting airlines seeking to compete at a federally

funded but gate constrained airport under Section 4.06(F) of the Lease, Section 5(a) of WARA, and

the Five Party Agreement. Nothing in the DOT’s guidance suggests that the “use it or lose it” policy

explained in the DOT letters is in any way a change to the DOT’s interpretation of accommodation or

the City’s and Southwest’s obligations pursuant to the Lease.15 Second, WARA’s terms are expressly

limited to the action of any “federal agency” to “require the City of Dallas” to make any lease

modification, unless it is “implemented on a nationwide basis.”16 Federal agencies are creations of the

executive branch, see, e.g., 49 U.S.C.A. § 47175(6); the provision places no limitation on what may be


15   See generally, Delta App. 12–18 [Exhibits 71, 73].
16   Delta. App. 20–21 [Exhibit 77, WARA §§ 5(e)(1)(E), 5(e)(2)(B)(ii)].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                            Page 22
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                               Page 30 of 35 PageID 21698


accomplished by court order.17 Southwest has long contended that the DOT letters “modify” the

terms of the Lease, but that is simply false.18 Southwest holds a preferential lease subject to

accommodation; its preferential right gives it the “primary, but not sole” use of that space.19

            Southwest also contends that WARA’s requirement that the City of Dallas honor the Lease

Agreements’ “scarce resource provision,” § 5(a), creates another source of impossibility preemption:

according to Southwest, Section 4.06(F) requires that “accommodations give way to the preferential

leaseholder’s scheduling priority,” but Delta contends that Article 14 requires an accommodation on

a “use it or lose it basis.” As briefed at great length in Delta’s motion for summary judgment and

other briefing in this case, Delta contends that all provisions of the lease point the same way: that a

signatory airline is required to accommodate an airline seeking to fly from Love Field on a non-

discriminatory, use-it-or-lose-it basis so long as the signatory airline has space available when the other

airline requests it. See generally, e.g., ECF 362 (Delta Summary Judgment Brief); ECF 413 (Delta

Summary Judgment Reply Brief).                     Southwest has manufactured a supposed impossibility by

misconstruing the unambiguous terms of the Lease and mischaracterizing Delta’s claims.

V.          Delta is a Third-Party Beneficiary of Article 14

            Southwest next claims that Delta is not a third-party beneficiary of the lease. Mot. at 16. Delta

has repeatedly set forth the reasons it is a third-party beneficiary, and this Court has rejected

Southwest’s argument. Delta incorporates its prior briefing by reference here, which remains fully




17 For the same reasons, WARA’s Section 5(d)(1) poses no impossibility because that section expressly limits only the

actions of the “the Secretary of Transportation and the Administrator of the Federal Aviation Administration.”
Furthermore, the WARA provisions at issue here limit only what a “federal agency” may require of the “City of Dallas”—
not what an agency may require of Southwest. Delta. App. 20–21 [WARA §§ 5(e)(1)(E), 5(e)(2)(B)(ii)]. Impossibility
preemption occurs “where it is impossible for a private party to comply with both state and federal law,” Crosby v. Nat’l
Foreign Trade Council, 530 U.S. 363, 363 (2000) (emphasis added), so this is yet another reason to reject Southwest’s
preemption argument.
18   See generally, Delta App. 12–18 [Exhibits 71, 73].
19   Southwest App. 028–30 [Exhibit 25 § 4.06F].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                         Page 23
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                               Page 31 of 35 PageID 21699


applicable to Southwest’s slight variation on its argument. See, e.g., ECF 388. In particular, Southwest

seeks a different result by asserting that Delta is at least not a third-party beneficiary of Article 14.

Mot. at 16. But Southwest is wrong. It offers no support for its assertion that Article 14’s provisions

are only “intended to benefit a contracting party, the City, in navigating its relationship with the DOT.”

Mot. at 17. In fact, grant assurances 22 and 23, no less than Section 4.06(F), plainly benefit airlines

that seek to compete at Love Field.

            Grant assurances 22 and 23 require the City to make Love Field available to “for public use

on reasonable conditions without unjust discrimination” and forbid the grant of “an exclusive right to

use the airport” to any airline. 49 U.S.C. §§ 47107(a)(1), (a)(4). Long before Southwest entered into

its Lease Agreement with the City, the FAA “ha[d] interpreted the reasonable access provision as

requiring access for new entrants . . . some arrangements for accommodation must be made if

reasonably possible.”20 Indeed, “all federally assisted airports are bound by federal grant assurances

that require the airport operator to accommodate reasonable requests for access by a new entrant

carrier . . . an airport may not deny access to its facilities based solely on existing lease arrangements.”21

Delta is entitled to reasonable accommodation under the Grant Assurances. The City, as the operator

of a federally assisted airport, is obligated to accommodate Delta’s requests under those same Grant

Assurances.

            Moreover, the FAA has interpreted the grant assurance prohibition on exclusive rights as

“enjoin[ing] the airport operator from granting any special privilege or monopoly in the use of public

use airport facilities” in order to “promote and encourage competition in the provision of air




20Delta App. 60 [Exhibit 304 at 304.0039 (citing FAA Order 5190.6A (1989)]; Exhibit 304, the FAA/OST Task Force
Study entitled Airport Business Practices and Their Impact on Airline Competition (Oct. 1999), is the FAA’s authoritative
guidance document on airport competition.
21
     Id. at 34 [Exhibit 304 at 304.0013].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                         Page 24
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                Page 32 of 35 PageID 21700


services.”22 Though these statements were not made in the context of Delta’s particular request, it

clearly benefits competition, and Delta is the only competition currently seeking to challenge

Southwest’s de facto control of Love Field. The agency’s reasoned interpretations of its own

regulations and the statutes they implement are entitled to deference, Castellanos-Contreras v. Decatur

Hotels, LLC, 622 F.3d 393, 407–08 (5th Cir. 2010) (en banc), and are proper for the Court’s

consideration in assessing the intentions of the parties to the contract, see, e.g., United States v. Mwalumba,

688 F. Supp. 2d 565, 573 (N.D. Tex. 2010); Delta App. 144–45 [Restatement (Second) of Contracts §

202 (“interpretation [of a written agreement] is directed to the meaning of that writing in the light of

the circumstances . . . includ[ing] the entire situation, as it appeared to the parties)].

            The grant assurances imposed upon the City a legal obligation to accommodate Delta as a new

entrant at Love Field. Southwest agreed to satisfy that obligation by promising to perform pursuant

to those grant assurances in the Lease Agreement. A third-party is a creditor beneficiary with rights

to enforce a contractual promise where “performance will come to [the third party] in satisfaction of

a legal duty owed to him by the promisee.” MCI Telecommunications Corp. v. Texas Utilities Elec. Co., 995

S.W.2d 647, 651 (Tex. 1999). “[A] promisor who agrees to satisfy an obligation that the promisee

owes to a third party thereby confers enforcement rights to the third party, who qualifies as a creditor

beneficiary to the contract.” Excel Willowbrook, L.L.C. v. JP Morgan Chase Bank, Nat. Ass’n, 758 F.3d

592, 597 (5th Cir. 2014). Because the City owed Delta a duty to provide it non-discriminatory access

to Love Field, and Southwest agreed to satisfy that obligation by promising to comply with the grant

assurances itself, Delta is a third-party creditor beneficiary with the right to enforce Southwest’s

promise.23 In addition, Delta is an intended beneficiary because, at a minimum, there is a fact question



22
     Id. at 65 [Exhibit 304 at 304.0044].
23Southwest also contends that because the grant assurances lack a private right of action, Delta has no right to enforce
the grant assurances even if they are incorporated under Article 14. Mot. at 17. As explained above, regulations for which

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                          Page 25
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                                Page 33 of 35 PageID 21701


of whether “the contracting parties ‘intended to secure a benefit to [a] third party’ and ‘entered into

the contract directly for the third party’s benefit.’” First Bank v. Brumitt, 519 S.W.3d 95, 102 (Tex.

2017).24

VI.        Delta Has a Viable Request for Declaratory Relief Seeking To Invalidate the
           Sublease.

           Southwest summarily asserts that Delta has not properly asserted a substantive right of action

to support a declaration that the sublease is void. Mot. at 18. Count II of Delta’s Fourth Amended

Counterclaims asks this Court to declare that United’s sublease violates grant assurances 22 and 23,

49 U.S.C. § 47107(a), 49 U.S.C. § 40103(e), the City’s competition plan, and the strong federal policy

of promoting competition at Love Field that is embodied in those authorities.25 “[I]f a contract

violates public policy, it is void, not merely voidable.” Lawrence v. CDB Servs., Inc., 44 S.W.3d 544, 555

(Tex. 2001). “The purpose of this rule is to benefit and protect the public[.]” Haub v. Axon Downhole

Tools, Inc., 2013 WL 6731937, at *5 (S.D. Tex. Dec. 19, 2013) (citation and internal quotation marks

omitted).

           Southwest simply ignores this law; it does not confront Delta’s argument that the sublease is

void at all. Instead, it asserts that Delta cannot sue to enforce the competition plan. That is a non

sequitur. Count II does not seek to enforce the competition plan, but to void the unlawful sublease.

Accordingly, Delta’s claim is proper.




there is no private right of action become privately enforceable when they “are expressly incorporated into” an
“agreement.” Johnson v. World All. Fin. Corp., 830 F.3d 192, 196 (5th Cir. 2016). Southwest’s argument is meritless.
24 Southwest also asserts that Delta lacks proof of the elements of its tortious interference claim. Delta incorporates by

reference its response to United’s motion for summary judgment on this point.
25
     Delta App. 5–6 [Counterclaims, ECF 346 ¶¶ 110–22].

DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                                          Page 26
Case 3:15-cv-02069-K Document 530 Filed 10/12/18              Page 34 of 35 PageID 21702


                                        CONCLUSION

      For the reasons set forth above, Southwest’s motion for summary judgment should be denied.


DATED: October 12, 2018                    Respectfully submitted,


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DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                  Page 27
Case 3:15-cv-02069-K Document 530 Filed 10/12/18                    Page 35 of 35 PageID 21703




                                     CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2018, I electronically filed the foregoing document with

the Clerk of Court for the United States District Court for the Northern District of Texas using the

electronic case filing system of the Court. Service on all attorneys of record who are Filing Users will

be automatically accomplished through Notice of Electronic Filing.


                                                /s/ William B. Dawson
                                                William B. Dawson




DELTA MEMORANDUM IN SUPPORT OF RESPONSE TO MOTION FOR SUMMARY JUDGMENT                          Page 28
